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                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ITHZAK KEREN and ARIELLA KEREN,              :
h/w                                          :
20 Wilshire Drive                            :
Spring Valley, NY 10977                      :
                                             :
                  Plaintiff,                 :
                                             :   CASE NO. _______________________
v.                                           :
                                             :
CHARLES RADFORD                              :
1434 Alleghenyville Road                     :
Mohnton, PA 19540                            :   JURY TRIAL DEMANDED
    and                                      :
ADCOCK BROTHERS, INC.                        :
14 Anthony Drive                             :
Manheim, PA 17545                            :
    and                                      :
ADCOCK BROTHERS AUTO                         :
TRANSPORT, INC.                              :
14 Anthony Drive                             :
Manheim, PA 17545                            :
    and                                      :
MANHEIM D/B/A MANHEIM                        :
PENNSYLVANIA AUTO AUCTION                    :
1190 Lancaster Road                          :
Manheim, PA, 17545                           :

   and
JOHN JANE DOES 1-5
   and
XYZ COMPANIES 1-5

                  Defendants.

                               CIVIL ACTION COMPLAINT

      Plaintiffs, Ithzak Keren and Ariella Keren, husband and wife, by and through

their undersigned attorneys, Sean M. McMonagle, Esquire, and The Rothenberg Law

Firm LLP, herein complain of the above-captioned defendants and state the following:
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                                          PARTIES

       1.       Plaintiffs, Ithzak Keren (hereinafter "Mr. Keren") and Ariella Keren, are

adult citizens and residents of theState of New York, residing at 20 Wilshire Drive, Spring

Valley, NY.

       2.       Defendant, Charles Radford (hereinafter “Radford”), is alleged and therefore

averred to be an adult individual residing at 1434 Alleghenyville Road, Mohnton, PA 19540.

       3.       Defendant, Adcock Brothers, Inc., is alleged and therefore averred to be a

Pennsylvania and/or foreign business, company, entity, partnership, limited liability company,

franchise, fictitious name, proprietorship, non-profit or corporation which regularly conducts

business in the Commonwealth of Pennsylvania, with offices located at 14 Anthony Drive,

Manheim, PA 17545.

       4.       Defendant, Adcock Brothers Auto Transport, Inc., is alleged and therefore averred

to be a Pennsylvania and/or foreign business, company, entity, partnership, limited liability

company, franchise, fictitious name, proprietorship, non-profit or corporation which regularly

conducts business in the Commonwealth of Pennsylvania, with offices located at 14 Anthony

Drive, Manheim, PA 17545.

       5.       At all times relevant hereto, Defendants, Adcock Brothers, Inc. and Adcock

Brothers Auto Transport, Inc. (hereinafter collectively referred to as “Adcock”), were in the

business of transporting vehicles.

       6.       At all times material hereto, defendant Radford was employed and/or contracted

and/or retained by Adcock as a vehicle transport driver.

       7.       Defendant, Manheim d/b/a Manheim Pennsylvania Auto Auction is alleged and

therefore averred to be a Pennsylvania and/or foreign business, company, entity, partnership,
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limited liability company, franchise, fictitious name, proprietorship, non-profit or corporation

which regularly conducts business in the Commonwealth of Pennsylvania, with offices located at

1190 Lancaster Road, Manheim, PA 17545.

       8.       Defendants, John Jane Doe 1-5, these names being fictitious, are individuals whose

identifies cannot be ascertained as of the filing of this Complaint, certain of whom are in some

manner responsible for the occurrences and claims in this Complaint, and are liable for damages

claimed in this action.

       9.       Defendants, XYZ Companies 1-5, these names being fictitious, are entities whose

identities cannot be ascertained as of the filing of this Complaint, certain of which are the corporate

successors to, or are otherwise related to, one or more of the Defendants and in some manner are

responsible for the occurrences and claims in this Complaint.

                                   JURISDICTION AND VENUE

       10.      Plaintiffs are citizens of the State of New York and Defendants are citizens of the

State of Pennsylvania. The matter in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs.

       11.      Jurisdiction over this action is vested in this Court as the parties are citizens

of different states and the amount in controversy exceeds $75,000.00 pursuant to 28

U.S.C. §1332.

       12.      The practices and conduct alleged herein occurred in the Eastern District of

Pennsylvania wherein the Defendants operate and/or reside and where the incident took

place.Therefore, venue in this Court is proper pursuant to 28 U.S.C. §§1332.
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                                JURISDICTION AND VENUE

       13.     On December 1, 2019, Mr. Keren was attending an auto auction at Manheim

Pennsylvania Auto Auction located at 1190 Lancaster Road, Manheim, PA.

       14.     On December 1, 2019, defendant Radford, in and through the course of his

employment with Adcock, was also attending the auto auction at Manheim Pennsylvania Auto

Auction.

       15.     Upon information and belief, at all times relevant hereto, defendant Radford was

the operator of a Honda Fit vehicle and was in the process of loading said vehicle onto defendant

Adcock’s vehicle transporter.

       16.     At the aforesaid time and place, defendant Radford, while backing said Honda

vehicle onto the Adcock vehicle transporter, and without any warning whatsoever, forcefully

struck Mr. Keren, a lawful pedestrian in the parking lot.

       17.     Upon information belief, defendant Radford stopped and exited the vehicle and

observed Mr. Keren laying on the ground behind the vehicle.

       18.     As a result of the incident, Mr. Keren sustained catastrophic personal injuries

including, but not limited to, injuries to his cervical, thoracic and lumbar regions central disc

herniation at L4-5, central disc herniation at T6-T7, right-sided disc herniation at T7-T8, anterior

disc bulging at T-9-T10, T-10-T11 and T-12-L1, Grade I spondylolisthesis of L5 on S, left hand

numbness, right thumb numbness, left leg shooting pains, left leg numbness below the knee and

in left foot, restricted range of motion and pain, requiring surgical intervention on C5-6,

specifically a fusion of the upper thoracic spine, which injuries require continuous medical

treatment, pain management treatments and physical therapy.
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       19.     As a direct and proximate result of the incident, Mr. Keren suffered and continues

to suffer physical pain and limitations, which are permanent.

                                       COUNT I – NEGLIGENCE
                                    Plaintiff, Ithzak Keren v. Radford

       20.     Plaintiffs incorporate by reference all preceding paragraphs of the Complaint as if

same were fully set forth herein.

       21.     At the aforesaid time and place, defendant Radford operated the said Honda vehicle

so negligently, recklessly and carelessly so as to cause his vehicle to suddenly and severely strike

Mr. Keren, resulting in serious and permanent injuries to Mr. Keren, as hereinafter described.

       22.     The negligence, recklessness and carelessness of defendant Radford, includes, but

is not limited to, the following:

               (a) Failing to have the vehicle under proper and adequate control;

               (b) Disregarding surroundings while backing up the vehicle;

               (c) Failing to warn of the approach of the vehicle without due regard for the rights

                    and safety of pedestrians and Mr. Keren;

               (d) Operating the vehicle in a reckless, dangerous and unsafe manner;

               (e) Failing to make timely application of the vehicle's brakes and horn;

               (f) Failing to maintain a proper lookout;

               (g) Failing to properly inspect the area around the vehicle before moving said

                    vehicle;

               (h) Operating the motor vehicle in violation of the ordinances of the County of

                    Lancaster and the statutes of the Commonwealth of Pennsylvania pertaining to

                    the proper operation of motor vehicles;

               (i) Otherwise failing to use due care and caution under the circumstances;
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               (j) Negligence as a matter of law; and,

               (k) Negligence in other respects which may well be pointed out during discovery

                    or at the trial of this matter.

       23.     By virtue of the above-referenced conduct, acts and/or omissions, defendant,

Radford breached his duty of care to Plaintiff.

       24.     This incident resulted solely from the negligence and carelessness of defendant,

Radford and was due in no manner whatsoever to any act or failure to act on the part of Mr. Keren.

       25.     As a result of the incident, Mr. Keren sustained catastrophic personal injuries

including, but not limited to, injuries to his cervical, thoracic and lumbar central disc herniation at

L4-5, central disc herniation at T6-T7, right-sided disc herniation at T7-T8, anterior disc bulging

at T-9-T10, T-10-T11 and T-12-L1, Grade I spondylolisthesis of L5 on S, left hand numbness,

right thumb numbness, left leg shooting pains, left leg numbness below the knee and in left foot,

restricted range of motion and pain, requiring surgical intervention on C5-6, specifically a fusion

of the upper thoracic spine, which injuries require continuous medical treatment, pain management

treatments and physical therapy.

       26.     As a result of the aforesaid incident, Mr. Keren has been and may in the future be

required to spend considerable sums of money for medical treatment in an effort to treat and cure

himself of the injuries sustained as aforesaid, any and all of which may continue to his great

financial loss and detriment

       27.     Further, Mr. Keren has been and may in the future be unable to work due to his

injuries, with consequent loss of earnings and impairment of earning capacity.

       28.     Further, Mr. Keren may have sustained other damages as a result of the incident.
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        29.       As a direct result of the aforesaid incident, Mr. Keren has suffered great physical

pain and mental anguish all of which may continue in the future.

        30.       Further, Mr. Keren has suffered a loss of the enjoyment of his usual duties, life's

pleasures and activities to his great detriment and loss.

        WHEREFORE, Plaintiffs, demand judgement against Defendants in an amount in excess

of one hundred and fifty thousand ($150,000.00) dollars, together with the costs and disbursements

of this action.

                                        COUNT II – NEGLIGENCE
                                      Plaintiff, Ithzak Keren v. Adcock

        31.       Plaintiff incorporates by reference all preceding paragraphs of this Complaint the

same as if fully set forth hereinafter.

        32.       On the aforesaid date and place, defendant Radford, by and at the direction of his

employment with Adcock, operated the said Honda vehicle so negligently, recklessly and

carelessly so as to cause his vehicle to suddenly and severely strike Mr. Keren, resulting in serious

and permanent injuries to Mr. Keren, as hereinafter described.

        33.       The negligence, recklessness and carelessness of defendant, Adcock, by their agent,

servant, workman and/or employee, defendant, Radford, includes, but is not limited to the

following:

                  (a) Failing to have the vehicle under proper and adequate control;

                  (b) Disregarding surroundings while backing up the vehicle;

                  (c) Failing to warn of the approach of the vehicle without due regard for the rights

                     and safety of the Mr. Keren;

                  (d) Operating the vehicle in a reckless, dangerous and unsafe manner;

                  (e) Failing to make timely application of the vehicle's brakes and horn;
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               (f) Failing to maintain a proper lookout;

               (g) Failing to properly inspect the area around the vehicle before moving said

                   vehicle;

               (h) Operating their motor vehicle in violation of the ordinances of the County of

                   Lancaster and the statutes of the Commonwealth of Pennsylvania pertaining to

                   the proper operation of motor vehicles;

               (i) Otherwise failing to use due care and caution under the circumstances;

               (j) Negligence as a matter of law; and,

               (k) Negligence in other respects which may well be pointed out during discovery

                   or at the trial of this matter.

       34.     The negligence, recklessness and carelessness of defendant, Adcock, in its own

right, consisted of the following:

               (a) Allowing and permitting their vehicle to be operated by Radford, when they

                   knew or should have known in the exercise of reasonable care that defendant

                   Radford, was not adequately trained to operate or was otherwise incapable of

                   safely operating and/or loading vehicles onto defendant’s vehicle transporter;

               (b) Failing to investigate and/or negligently investigating the driving ability of

                   defendant Radford, prior to allowing him to operate and/or load vehicles onto

                   the vehicle transporter;

               (c) Negligently hiring, training and supervising defendant Radford as to the safe

                   and proper way to operate and/or load vehicles onto the vehicle transporter;

               (d) Otherwise failing to use due care and caution under the circumstances;

               (e) Negligence as a matter of law; and,
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               (f) Negligence in other respects which may well be pointed out during discovery

                   or at the trial of this matter.

       35.     By virtue of the above-referenced conduct, acts and/or omissions, defendant

Adcock breached its duty of care to Plaintiff.

       36.     This incident resulted solely from the negligence and carelessness of Adcock herein

and was due in no manner whatsoever to any act or failure to act on the part of Mr. Keren.

       37.     As a result of the incident, Mr. Keren sustained catastrophic personal injuries

including, but not limited to, injuries to his cervical, thoracic and lumbar regions central disc

herniation at L4-5, central disc herniation at T6-T7, right-sided disc herniation at T7-T8, anterior

disc bulging at T-9-T10, T-10-T11 and T-12-L1, Grade I spondylolisthesis of L5 on S, left hand

numbness, right thumb numbness, left leg shooting pains, left leg numbness below the knee and

in left foot, restricted range of motion and pain, requiring surgical intervention on C5-6,

specifically a fusion of the upper thoracic spine, which injuries require continuous medical

treatment, pain management treatments and physical therapy.

       38.     As a result of the aforesaid incident, Mr. Keren has been and may in the future be

required to spend considerable sums of money for medical treatment in an effort to treat and cure

himself of the injuries sustained as aforesaid, any and all of which may continue to his great

financial loss and detriment.

       39.     Further, Mr. Keren has been and may in the future be unable to work due to his

injuries, with consequent loss of earnings and impairment of earning capacity.

       40.     As a direct result of the aforesaid incident, Mr. Keren has suffered great physical

pain and mental anguish all of which may continue in the future.
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        41.       Further, Mr. Keren has suffered a loss of the enjoyment of his usual duties, life's

pleasures and activities to his great detriment and loss.

        WHEREFORE, Plaintiffs, demand judgement against Defendants in an amount in excess

of one hundred and fifty thousand ($150,000.00) dollars, together with the costs and disbursements

of this action.

                                    COUNT III – NEGLIGENCE
           Plaintiff, Ithzak Keren v. Manheim d/b/a Manheim Pennsylvania Auto Auction

        42.       Plaintiff incorporates by reference all preceding paragraphs of this Complaint the

same as if fully set forth hereinafter.

        43.       On the aforesaid date and place, defendant, Manheim d/b/a Manheim Pennsylvania

Auto Auction was the owner and/or operator of an auto auction at which Mr. Keren was struck by

a vehicle, resulting in serious and permanent injuries to Mr. Keren, as hereinafter described.

        44.       As owner and/or operator of the subject auto auction, defendant, Manheim was

responsible, individually and by and through its agents, to maintain its property in a safe condition

for invitees, including Mr. Keren.

        45.       The negligence, recklessness and carelessness of defendant, Manheim d/b/a

Manheim Pennsylvania Auto Auction, consisted of the following:

                  (a) Allowing and permitting vehicles to operate, load or unloading in areas unsafe

                     to do so;

                  (b) Allowing pedestrians to walk in areas that are unsafe due to the operation,

                     loading and/or unloading of vehicles;

                  (c) Failing to maintain, direct, control, manage, operate, monitor and supervise its

                     property in a safe condition;
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               (d) Failing to have proper policies, warnings and procedures in place to keep its

                   business invites safe;

               (e) Failure to have a proper layout for the auto auction to keep its business invitees

                   safe;

               (f) Failure to adequately inspect its property to maintain it in a safe condition;

               (g) Allowing the unsafe operation, movement and loading/unloading of transport

                   vehicles;

               (h) Otherwise failing to use due care and caution under the circumstances;

               (i) Negligence as a matter of law; and,

               (j) Negligence in other respects which may well be pointed out during discovery

                   or at the trial of this matter.

       46.     By virtue of the above-referenced conduct, acts and/or omissions, defendant,

Manheim d/b/a Manheim Pennsylvania Auto Auction breached its duty of care to Plaintiff.

       47.     This incident resulted solely from the negligence and carelessness of Defendant,

Manheim herein and was due in no manner whatsoever to any act or failure to act on the part of

Mr. Keren.

       48.     As a result of the incident, Mr. Keren sustained catastrophic personal injuries

including, but not limited to, injuries to his cervical, thoracic and lumbar regions central disc

herniation at L4-5, central disc herniation at T6-T7, right-sided disc herniation at T7-T8, anterior

disc bulging at T-9-T10, T-10-T11 and T-12-L1, Grade I spondylolisthesis of L5 on S, left hand

numbness, right thumb numbness, left leg shooting pains, left leg numbness below the knee and

in left foot, restricted range of motion and pain, requiring surgical intervention on C5-6,
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specifically a fusion of the upper thoracic spine, which injuries require continuous medical

treatment, pain management treatments and physical therapy.

        49.       As a result of the aforesaid incident, Mr. Keren has been and may in the future be

required to spend considerable sums of money for medical treatment in an effort to treat and cure

himself of the injuries sustained as aforesaid, any and all of which may continue to his great

financial loss and detriment.

        50.       Further, Mr. Keren has been and may in the future be unable to work due to his

injuries, with consequent loss of earnings and impairment of earning capacity.

        51.       Further, Mr. Keren avers that he may have sustained other damages as a result of

the incident.

        52.       As a direct result of the aforesaid incident, Mr. Keren has suffered great physical

pain and mental anguish all of which may continue in the future.

        53.       Further, Mr. Keren has suffered a loss of the enjoyment of his usual duties, life's

pleasures and activities to his great detriment and loss.

        WHEREFORE, Plaintiffs, demand judgement against Defendants in an amount in excess

of one hundred and fifty thousand ($150,000.00) dollars, together with the costs and disbursements

of this action.

                                          FOURTH COUNT
           Plaintiff, Ithzak Keren v. Defendants, Jane/John Doe and XYC Companies 1-5.

        54.       Plaintiffs incorporate by reference all preceding paragraphs of the Complaint as if

same were fully set forth herein.

        55.       The negligence, recklessness and carelessness of defendants, John/Jane Doe and

XYZ Companies 1-5, individually and by their agent, servant, workman and/or employee,

defendant, Radford, includes, but is not limited to the following:
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    (a)   Failing to have the vehicle under proper and adequate control;

    (b)   Disregarding surroundings while backing up the vehicle;

    (c)   Failing to warn of the approach of the vehicle without due regard for the rights

          and safety of the Mr. Keren;

    (d)   Operating the vehicle in a reckless, dangerous and unsafe manner;

    (e)   Failing to make timely application of the vehicle's brakes and horn;

    (f)   Failing to maintain a proper lookout;

    (g)   Failing to properly inspect the area around the vehicle before moving said

          vehicle;

    (h)   Operating their motor vehicle in violation of the ordinances of the County of

          Lancaster and the statutes of the Commonwealth of Pennsylvania pertaining to

          the proper operation of motor vehicles;

    (i)   Otherwise failing to use due care and caution under the circumstances;

    (j)   Negligence as a matter of law; and,

    (k) Negligence in other respects which may well be pointed out during discovery

          or at the trial of this matter.

    (l)   Allowing and permitting their vehicle to be operated by Radford, when they

          knew or should have known in the exercise of reasonable care that defendant

          Radford, was not adequately trained to operate or was otherwise incapable of

          safely operating and/or loading vehicles onto defendant’s vehicle transporter;

    (m) Failing to investigate and/or negligently investigating the driving ability of

          defendant Radford, prior to allowing him to operate and/or load vehicles onto

          the vehicle transporter;
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              (n)   Negligently hiring, training and supervising defendant Radford as to the safe

                    and proper way to operate and/or load vehicles onto the vehicle transporter;

              (o)   Otherwise failing to use due care and caution under the circumstances;

              (p)   Negligence as a matter of law; and,

              (q)   Negligence in other respects which may well be pointed out during discovery

                    or at the trial of this matter.

       56.     By virtue of the above-referenced conduct, acts and/or omissions, defendants

breached their duty of care to Plaintiff.

       57.     This incident resulted solely from the negligence and carelessness of Defendants

herein and was due in no manner whatsoever to any act or failure to act on the part of Mr. Keren.

       58.     As a result of the incident, Mr. Keren sustained catastrophic personal injuries

including, but not limited to, injuries to his cervical, thoracic and lumbar central disc herniation at

L4-5, central disc herniation at T6-T7, right-sided disc herniation at T7-T8, anterior disc bulging

at T-9-T10, T-10-T11 and T-12-L1, Grade I spondylolisthesis of L5 on S, left hand numbness,

right thumb numbness, left leg shooting pains, left leg numbness below the knee and in left foot,

restricted range of motion and pain, requiring surgical intervention on C5-6, specifically a fusion

of the upper thoracic spine, which injuries require continuous medical treatment, pain management

treatments and physical therapy.

       59.     As a result of the aforesaid incident, Mr. Keren has been and may in the future be

required to spend considerable sums of money for medical treatment in an effort to treat and cure

himself of the injuries sustained as aforesaid, any and all of which may continue to his great

financial loss and detriment.
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        60.       Further, Mr. Keren has been and may in the future be unable to work due to his

injuries, with consequent loss of earnings and impairment of earning capacity.

        61.       Further, Mr. Keren avers that he may have sustained other damages as a result of

the incident.

        62.       As a direct result of the aforesaid incident, Mr. Keren has suffered great physical

pain and mental anguish all of which may continue in the future.

        63.       Further, Mr. Keren has suffered a loss of the enjoyment of his usual duties, life's

pleasures and activities to his great detriment and loss.

        WHEREFORE, Plaintiffs, demand judgement against Defendants in an amount in excess

of one hundred and fifty thousand ($150,000.00) dollars, together with the costs and disbursements

of this action.

                                          FIFTH COUNT
                                    Ariella Keren v. Defendants


        64.       Plaintiff incorporates by reference all preceding paragraphs of this Complaint the

same as if fully set forth hereinafter.

        65.       As a result of the aforesaid negligence, carelessness, and recklessness of

Defendants, Plaintiff, Ariella Keren, has been and may in the future be deprived of her husband’s

services, companionship and society and hereby claims loss of consortium to her great detriment

and loss.
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       WHEREFORE, Plaintiff, Ariella Keren, demands judgment against Defendants in an

amount in excess of one hundred and fifty thousand ($150,000.00) dollars, together with the costs

and disbursements of this action.

                                                    THE ROTHENBERG LAW FIRM


       11/5/21
Dated: ______________                               By:
                                                           Sean M. McMonagle
                                                           Attorney for Plaintiffs
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                              DEMAND FOR A JURY TRIAL

    Plaintiffs hereby demand that all issues of fact herein, be determined by a Jury.

                                                    THE ROTHENBERG LAW FIRM


       11/5/21
Dated: ______________                               By:
                                                           Sean M. McMonagle
                                                           Attorney for Plaintiffs
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